                                                                                                    Case 06-34686 Document 1 Filed in TXSB on 09/06/06 Page 1 of 8
                                                                     (Official Form 1) (10/05)
                                                                      FORM B1
                                                                                                                    United States Bankruptcy Court                                                                          Voluntary Petition
                                                                                                                      Southern District of Texas
                                                                      Name of Debtor (if individual, enter Last, First, Middle):                                       Name of Joint Debtor (Spouse) (Last, First, Middle):
                                                                      Bunch, Newton L.
                                                                      All Other Names used by the Debtor in the last 8 years                                           All Other Names used by the Joint Debtor in the last 8 years
                                                                      (include married, maiden, and trade names):                                                      (include married, maiden, and trade names):




                                                                      Last four digits of Soc. Sec. No./Complete EIN or other Tax I.D. No. (if more than               Last four digits of Soc. Sec. No./Complete EIN or other Tax I.D. No. (if more than
                                                                      one, state all):   3248                                                                          one, state all):

                                                                      Street Address of Debtor (No. & Street, City, State & Zip Code):                                 Street Address of Joint Debtor (No. & Street, City, State & Zip Code):
                                                                      16543 DESERT STAR DRIVE
                                                                      CONROE, TX
                                                                                                                                                ZIPCODE                                                                                       ZIPCODE
                                                                                                                                                77302
                                                                      County of Residence or of the Principal Place of Business:                                       County of Residence or of the Principal Place of Business:
                                                                      Montgomery
                                                                      Mailing Address of Debtor (if different from street address)                                     Mailing Address of Joint Debtor (if different from street address):


                                                                                                                                                ZIPCODE                                                                                       ZIPCODE
© 1993-2006 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                      Location of Principal Assets of Business Debtor (if different from street address above):

                                                                                                                                                                                                                                              ZIPCODE


                                                                      Type of Debtor (Form of Organization)                     Nature of Business                                           Chapter of Bankruptcy Code Under Which
                                                                                (Check one box.)                            (Check all applicable boxes.)                                       the Petition is Filed (Check one box)

                                                                      üIndividual (includes Joint Debtors)                Health Care Business                      ü Chapter 7                   Chapter 11            Chapter 15 Petition for Recognition
                                                                         Corporation (includes LLC and LLP)               Single Asset Real Estate as defined              Chapter 9              Chapter 12            of a Foreign Main Proceeding
                                                                         Partnership                                      in 11 U.S.C. § 101(51B)                                         Chapter 13                    Chapter 15 Petition for Recognition
                                                                         Other (If debtor is not one of the               Railroad                                                                                      of a Foreign Nonmain Proceeding
                                                                         above entities, check this box and               Stockbroker
                                                                         provide the information requested                Commodity Broker                                                         Nature of Debts (Check one box)
                                                                         below.)                                          Clearing Bank
                                                                         State type of entity:                            Nonprofit Organization qualified          ü Consumer/Non-Business                    Business
                                                                                                                          under 15 U.S.C. § 501(c)(3)
                                                                                                        Filing Fee (Check one box)                                                                 Chapter 11 Debtors:
                                                                                                                                                                    Check one box:
                                                                      üFull Filing Fee attached                                                                       Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                         Filing Fee to be paid in installments (Applicable to individuals only). Must
                                                                                                                                                                      Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                         attach signed application for the court’s consideration certifying that the debtor
                                                                                                                                                                      -----------------------------------------------------
                                                                         is unable to pay fee except in installments. Rule 1006(b). See Official Form
                                                                         3A.                                                                                        Check if:
                                                                         Filing Fee waiver requested (Applicable to chapter 7 individuals only). Must                 Debtor’s aggregate noncontingent liquidated debts owed to non-insiders or
                                                                         attach signed application for the court’s consideration. See Official Form 3B.               affiliates are less than $2 million.
                                                                      Statistical/Administrative Information                                                                                                         THIS SPACE IS FOR COURT USE ONLY

                                                                          Debtor estimates that funds will be available for distribution to unsecured creditors.
                                                                      üDebtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be
                                                                          no funds available for distribution to unsecured creditors.
                                                                      Estimated Number of Creditors
                                                                        1-           50-         100-        200-       1,000-        5,001-    10,001-      25,001-         50,001-           Over
                                                                        49           99          199         999        5,000         10,000    25,000       50,000          100,000          100,000
                                                                        ü
                                                                      Estimated Assets
                                                                         $0 to             $50,001 to     $100,001 to   $500,001 to     $1,000,001 to $10,000,001 to $50,000,001 to          More than
                                                                        $50,000             $100,000       $500,000      $1 million      $10 million    $50 million   $100 million          $100 million
                                                                                                              ü
                                                                      Estimated Debts
                                                                         $0 to             $50,001 to     $100,001 to   $500,001 to     $1,000,001 to $10,000,001 to $50,000,001 to          More than
                                                                        $50,000             $100,000       $500,000      $1 million      $10 million    $50 million   $100 million          $100 million
                                                                                                              ü
                                                                     VOLUNTARY PETITION
                                                                                            Case 06-34686 Document 1 Filed in TXSB on 09/06/06 Page 2 of 8
                                                                     (Official Form 1) (10/05)                                                                                                                 FORM B1, Page 2
                                                                     Voluntary Petition                                                              Name of Debtor(s):
                                                                      (This page must be completed and filed in every case)                          Bunch, Newton L.
                                                                                             Prior Bankruptcy Case Filed Within Last 8 Years (If more than one, attach additional sheet)
                                                                      Location                                                                       Case Number:                              Date Filed:
                                                                      Where Filed: None
                                                                          Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
                                                                      Name of Debtor:                                                                Case Number:                              Date Filed:
                                                                      None
                                                                      District:                                                                      Relationship:                             Judge:


                                                                                                     Exhibit A                                                                            Exhibit B
                                                                      (To be completed if debtor is required to file periodic reports (e.g., forms                   (To be completed if debtor is an individual
                                                                      10K and 10Q) with the Securities and Exchange Commission pursuant to                           whose debts are primarily consumer debts)
                                                                      Section 13 or 15(d) of the Securities Exchange Act of 1934 and is              I, the attorney for the petitioner named in the foregoing petition, declare
                                                                      requesting relief under chapter 11.)                                           that I have informed the petitioner that [he or she] may proceed under
                                                                                                                                                     chapter 7, 11, 12, or 13 of title 11, United States Code, and have
                                                                          Exhibit A is attached and made a part of this petition.                    explained the relief available under each such chapter.
                                                                                                                                                     I further certify that I delivered to the debtor the notice required by §
                                                                                                                                                     342(b) of the Bankruptcy Code.

                                                                                                                                                     X   /s/ Stephen Simonsen                                           8/31/06
© 1993-2006 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                                                                                                         Signature of Attorney for Debtor(s)                                 Date


                                                                                                     Exhibit C                                                   Certification Concerning Debt Counseling
                                                                      Does the debtor own or have possession of any property that poses or is                           by Individual/Joint Debtor(s)
                                                                      alleged to pose a threat of imminent and identifiable harm to public
                                                                      health or safety?                                                              ü I/we have received approved budget and credit counseling during the
                                                                                                                                                         180-day period preceding the filing of this petition
                                                                          Yes, and Exhibit C is attached and made a part of this petition.
                                                                                                                                                         I/we request a waiver of the requirement to obtain budget and credit
                                                                      ü No                                                                               counseling prior to filing based on exigent circumstances. (Must
                                                                                                                                                         attach certification describing.)

                                                                                                           Information Regarding the Debtor (Check the Applicable Boxes)
                                                                                                                                 Venue (Check any applicable box)

                                                                          ü Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                                                                              preceding the date of this petition or for a longer part of such 180 days than in any other District.
                                                                              There is a bankruptcy case concerning debtor’s affiliate, general partner, or partnership pending in this District.
                                                                              Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District,
                                                                              or has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court]
                                                                              in this District, or the interests of the parties will be served in regard to the relief sought in this District.

                                                                                                      Statement by a Debtor Who Resides as a Tenant of Residential Property
                                                                                                                                     Check all applicable boxes.

                                                                              Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                                                        (Name of landlord or lessor that obtained judgment)


                                                                                                                                    (Address of landlord or lessor)

                                                                              Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
                                                                              entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

                                                                              Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the filing
                                                                              of the petition.


                                                                     VOLUNTARY PETITION
                                                                                                Case 06-34686 Document 1 Filed in TXSB on 09/06/06 Page 3 of 8
                                                                     (Official Form 1) (10/05)                                                                                                                            FORM B1, Page 3
                                                                     Voluntary Petition                                                            Name of Debtor(s):
                                                                      (This page must be completed and filed in every case)                        Bunch, Newton L.
                                                                                                                                           Signatures
                                                                                      Signature(s) of Debtor(s) (Individual/Joint)                                     Signature of a Foreign Representative
                                                                      I declare under penalty of perjury that the information provided in this     I declare under penalty of perjury that the information provided in this
                                                                      petition is true and correct.                                                petition is true and correct, that I am the foreign representative of a debtor
                                                                      [If petitioner is an individual whose debts are primarily consumer debts     in a foreign main proceeding, and that I am authorized to file this petition.
                                                                      and has chosen to file under Chapter 7] I am aware that I may proceed        A certified copy of the order granting recognition is attached.
                                                                      under chapter 7, 11, 12 or 13 of title 11, United State Code, understand     (Check one box only)
                                                                      the relief available under each such chapter, and choose to proceed under
                                                                                                                                                        I request relief in accordance with chapter 15 of title 11, United
                                                                      chapter 7.
                                                                                                                                                        States Code. Certified copies of the documents required by § 1515 of
                                                                      [If no attorney represents me and no bankruptcy petition preparer signs
                                                                                                                                                        title 11 are attached.
                                                                      the petition] I have obtained and read the notice required by § 342(b) of
                                                                      the Bankruptcy Code.                                                              Pursuant to § 1511 of title 11, United States Code, I request relief in
                                                                                                                                                        accordance with the chapter of title 11 specified in this petition. A
                                                                      I request relief in accordance with the chapter of title 11, United States
                                                                                                                                                        certified copy of the order granting recognition of the foreign main
                                                                      Code, specified in this petition.
                                                                                                                                                        proceeding is attached.
                                                                      X   /s/ Newton L. Bunch
                                                                          Signature of Debtor                                 Newton L. Bunch      X
                                                                                                                                                        Signature of Foreign Representative
                                                                      X
                                                                          Signature of Joint Debtor                                                X
                                                                                                                                                        Printed Name of Foreign Representative
                                                                          Telephone Number (If not represented by attorney)
© 1993-2006 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                                                                                                        Date
                                                                          August 31, 2006
                                                                          Date

                                                                                                      Signature of Attorney                                       Signature of Non-Attorney Petition Preparer
                                                                                                                                                   I declare under penalty of perjury that: 1) I am a bankruptcy petition
                                                                      X   /s/ Stephen Simonsen                                                     preparer as defined in 11 U.S.C. § 110; 2) I prepared this document for
                                                                          Signature of Attorney for Debtor(s)                                      compensation and have provided the debtor with a copy of this document
                                                                          Stephen Simonsen 00788422                                                and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                          Printed Name of Attorney for Debtor(s)                                   110(h) and 342(b); 3) if rules or guidelines have been promulgated
                                                                                                                                                   pursuant to 11 U.S.C. § 110 setting a maximum fee for services
                                                                          Simonsen & Associates, P.C.                                              chargeable by bankruptcy petition preparers, I have given the debtor
                                                                          Firm Name
                                                                                                                                                   notice of the maximum amount before preparing any document for filing
                                                                          318 North Main                                                           for a debtor or accepting any fee from the debtor, as required in that
                                                                          Address                                                                  section. Official Form 19B is attached.
                                                                          Conroe, TX 77301
                                                                                                                                                   Printed Name and title, if any, of Bankruptcy Petition Preparer

                                                                          (936) 760-3299                                                           Social Security Number (If the bankruptcy petition preparer is not an individual, state the
                                                                          Telephone Number                                                         Social Security number of the officer, principal, responsible person or partner of the
                                                                                                                                                   bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)
                                                                          August 31, 2006
                                                                          Date
                                                                                                                                                   Address

                                                                                    Signature of Debtor (Corporation/Partnership)
                                                                      I declare under penalty of perjury that the information provided in this
                                                                      petition is true and correct, and that I have been authorized to file this   X
                                                                      petition on behalf of the debtor.                                                 Signature of Bankruptcy Petition Preparer or officer, principal, responsible person, or
                                                                                                                                                        partner whose social security number is provided above.

                                                                      The debtor requests relief in accordance with the chapter of title 11,
                                                                                                                                                        Date
                                                                      United States Code, specified in this petition.
                                                                                                                                                   Names and Social Security numbers of all other individuals who
                                                                      X                                                                            prepared or assisted in preparing this document unless the bankruptcy
                                                                          Signature of Authorized Individual                                       petition preparer is not an individual:

                                                                          Printed Name of Authorized Individual

                                                                                                                                                   If more than one person prepared this document, attach additional
                                                                          Title of Authorized Individual                                           sheets conforming to the appropriate official form for each person.
                                                                                                                                                   A bankruptcy petition preparer’s failure to comply with the provisions
                                                                          Date                                                                     of title 11 and the Federal Rules of Bankruptcy Procedure may result
                                                                                                                                                   in fines or imprisonment or both 11 U.S.C. § 110; 18 U.S.C. § 156.

                                                                     VOLUNTARY PETITION
                                                                                             Case 06-34686 Document 1 Filed in TXSB on 09/06/06 Page 4 of 8
                                                                     Form B22A (Chapter 7) (10/05)                                                   According to the calculations required by this statement:
                                                                                                                                                          The presumption arises
                                                                     In re: Bunch, Newton L.
                                                                                                         Debtor(s)                                     ü  The presumption does not arise
                                                                     Case Number:                                                                    (Check the box as directed in Parts I, III, and VI of this statement.)
                                                                                                         (If known)


                                                                               STATEMENT OF CURRENT MONTHLY INCOME AND MEANS TEST CALCULATION
                                                                                                                                     FOR USE IN CHAPTER 7

                                                                     In addition to Schedules I and J, this statement must be completed by every individual Chapter 7 debtor, whether or not filing jointly, whose debts are
                                                                     primarily consumer debts. Joint debtors may complete one statement only.


                                                                                                              Part I. EXCLUSION FOR DISABLED VETERANS
                                                                              If you are a disabled veteran described in the Veteran’s Declaration in this Part I, (1) check the box at the beginning of the Veteran’s
                                                                              Declaration, (2) check the “Presumption does not arise” box at the top of this statement, and (3) complete the verification in Part VIII. Do not
                                                                              complete any of the remaining parts of this statement.
                                                                        1
                                                                                 Veteran’s Declaration. By checking this box, I declare under penalty of perjury that I am a disabled veteran (as defined in 38 U.S.C. §
                                                                              3741(1)) whose indebtedness occurred primarily during a period in which I was on active duty (as defined in 10 U.S.C. § 101(d)(1)) or while I
                                                                              was performing a homeland defense activity (as defined in 32 U.S.C. §901(1)).


                                                                                      Part II. CALCULATION OF MONTHLY INCOME FOR § 707(b)(7) EXCLUSION
                                                                              Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
                                                                              a.   ü Unmarried. Complete only Column A ("Debtor’s Income") for Lines 3-11.
© 1993-2006 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                              b.      Married, not filing jointly, with declaration of separate households. By checking this box, debtor declares under penalty of perjury: “My
                                                                                      spouse and I are legally separated under applicable non-bankruptcy law or my spouse and I are living apart other than for the purpose
                                                                                      of evading the requirements of § 707(b)(2)(A) of the Bankruptcy Code.” Complete only Column A (“Debtor’s Income”) for Lines
                                                                                      3-11.
                                                                        2     c.      Married, not filing jointly, without the declaration of separate households set out in Line 2.b above. Complete both Column A
                                                                                      (“Debtor’s Income”) and Column B (Spouse’s Income) for Lines 3-11.
                                                                              d.      Married, filing jointly. Complete both Column A ("Debtor’s Income") and Column B ("Spouse’s Income") for Lines 3-11.
                                                                              All figures must reflect average monthly income for the six calendar months prior to filing the bankruptcy             Column A           Column B
                                                                              case, ending on the last day of the month before the filing. If you received different amounts of income               Debtor’s           Spouse’s
                                                                              during these six months, you must total the amounts received during the six months, divide this total by               Income              Income
                                                                              six, and enter the result on the appropriate line.
                                                                        3     Gross wages, salary, tips, bonuses, overtime, commissions.                                                         $                  $
                                                                              Income from the operation of a business, profession, or farm. Subtract Line b from Line a and enter
                                                                              the difference on Line 4. Do not enter a number less than zero. Do not include any part of the
                                                                              business expenses entered on Line b as a deduction in Part V.
                                                                        4       a.     Gross receipts                                            $
                                                                                b.     Ordinary and necessary business expenses                  $
                                                                                c.     Business income                                           Subtract Line b from Line a
                                                                                                                                                                                                 $                  $
                                                                              Rent and other real property income. Subtract Line b from Line a and enter the difference on Line 5.
                                                                              Do not enter a number less than zero. Do not include any part of the operating expenses entered on
                                                                              Line b as a deduction in Part V.
                                                                        5       a.     Gross receipts                                            $
                                                                                b.     Ordinary and necessary operating expenses                 $
                                                                                c.     Rental income                                             Subtract Line b from Line a
                                                                                                                                                                                                 $                  $
                                                                        6     Interest, dividends, and royalties.                                                                                $                  $
                                                                        7     Pension and retirement income.                                                                                     $          54.00 $
                                                                              Regular contributions to the household expenses of the debtor or the debtor’s dependents,
                                                                        8     including child or spousal support. Do not include contributions from the debtor’s spouse if Column B
                                                                              is completed.                                                                                                      $                  $
                                                                              Unemployment compensation. Enter the amount in Column A and, if applicable, Column B. However,
                                                                              if you contend that unemployment compensation received by you or your spouse was a benefit under the
                                                                              Social Security Act, do not list the amount of such compensation in Column A or B, but instead state the
                                                                        9     amount in the space below:
                                                                                Unemployment compensation claimed to
                                                                                be a benefit under the Social Security Act     Debtor $                         Spouse $
                                                                                                                                                                                                 $                  $
                                                                                         Case 06-34686 Document 1 Filed in TXSB on 09/06/06 Page 5 of 8
                                                                           Income from all other sources. If necessary, list additional sources on a separate page. Do not
                                                                           include any benefits received under the Social Security Act or payments received as a victim of a war
                                                                           crime, crime against humanity, or as a victim of international or domestic terrorism. Specify source and
                                                                           amount.
                                                                     10
                                                                            a.                                                                                       $
                                                                            b.                                                                                       $
                                                                            Total and enter on Line 10                                                                                       $                $

                                                                     11
                                                                           Subtotal of Current Monthly Income for § 707(b)(7). Add Lines 3 thru 10 in Column A, and, if
                                                                           Column B is completed, add Lines 3 through 10 in Column B. Enter the total(s).                                    $       54.00 $
                                                                           Total current monthly income. If Column B has been completed, add Line 11, Column A to Line
                                                                     12    11, Column B, and enter the total. If Column B has not been completed, enter the amount from Line 11,
                                                                           Column A.                                                                                                         $                       54.00

                                                                                                           Part III. APPLICATION OF § 707(B)(7) EXCLUSION
                                                                     13
                                                                           Annualized Current Monthly Income for § 707(b)(7). Multiply the amount from Line 12 by the number 12 and
                                                                           enter the result.                                                                                                              $         648.00
                                                                           Applicable median family income. Enter the median family income for the applicable state and household size.
                                                                     14    (This information is available by family size at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)
                                                                           a. Enter debtor’s state of residence: Texas                                 b. Enter debtor’s household size:     1            $       34,408.00
                                                                           Application of Section707(b)(7). Check the applicable box and proceed as directed.
                                                                     15    ü at the top of page 1 of this statement, and complete Part VIII; do not complete Parts IV, V, VI, or VII.
                                                                              The amount on Line 13 is less than or equal to the amount on Line 14. Check the box for “The presumption does not arise”
© 1993-2006 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                                 The amount on Line 13 is more than the amount on Line 14. Complete the remaining parts of this statement.

                                                                                               Complete Parts IV, V, VI, and VII of this statement only if required. (See Line 15.)

                                                                                         Part IV. CALCULATION OF CURRENT MONTHLY INCOME FOR § 707(b)(2)
                                                                     16    Enter the amount from Line 12.                                                                                                 $

                                                                           Marital adjustment. If you checked the box at Line 2.c, enter the amount of the income listed in Line 11, Column B
                                                                     17    that was NOT regularly contributed to the household expenses of the debtor or the debtor’s dependents. If you did not
                                                                           check box at Line 2.c, enter zero.                                                                                             $
                                                                     18    Current monthly income for § 707(b)(2). Subtract Line 17 from Line 16 and enter the result.                                    $

                                                                                           Part V. CALCULATION OF DEDUCTIONS ALLOWED UNDER § 707(b)(2)
                                                                                           Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)
                                                                           National Standards: food, clothing, household supplies, personal care, and miscellaneous. Enter
                                                                           “Total” amount from IRS National Standards for Allowable Living Expenses for the applicable family size and income level.
                                                                     19
                                                                           (This information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)
                                                                                                                                                                                                          $

                                                                           Local Standards: housing and utilities; non-mortgage expenses. Enter the amount of the IRS Housing and
                                                                     20A   Utilities Standards; non-mortgage expenses for the applicable county and family size. (This information is available at
                                                                           www.usdoj.gov/ust/ or from the clerk of the bankruptcy court).                                                                 $

                                                                           Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the amount of the
                                                                           IRS Housing and Utilities Standards; mortgage/rent expense for your county and family size (this information is available
                                                                           at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter on Line b the total of the Average Monthly
                                                                           Payments for any debts secured by your home, as stated in Line 42; subtract Line b from Line a and enter the result in
                                                                           Line 20B. Do not enter an amount less than zero.
                                                                     20B    a.     IRS Housing and Utilities Standards; mortgage/rental expense          $
                                                                                   Average Monthly Payment for any debts secured by your home,
                                                                            b.     if any, as stated in Line 42                                          $
                                                                            c.     Net mortgage/rental expense                                           Subtract Line b from Line a
                                                                                                                                                                                                          $

                                                                           Local Standards: housing and utilities; adjustment. If you contend that the process set out in Lines 20A and
                                                                           20B does not accurately compute the allowance to which you are entitled under the IRS Housing and Utilities Standards,
                                                                           enter any additional amount to which you contend you are entitled, and state the basis for your contention in the space
                                                                     21    below:



                                                                                                                                                                                                          $
                                                                                        Case 06-34686 Document 1 Filed in TXSB on 09/06/06 Page 6 of 8
                                                                          Local Standards: transportation; vehicle operation/public transportation expense. You are entitled to an
                                                                          expense allowance in this category regardless of whether you pay the expenses of operating a vehicle and regardless of
                                                                          whether you use public transportation.
                                                                          Check the number of vehicles for which you pay the operating expenses or for which the operating expenses are included
                                                                     22   as a contribution to your household expenses in Line 8.
                                                                             0     1      2 or more.
                                                                          Enter the amount from IRS Transportation Standards, Operating Costs & Public Transportation Costs for the applicable
                                                                          number of vehicles in the applicable Metropolitan Statistical Area or Census Region. (This information is available at
                                                                          www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)                                                                     $

                                                                          Local Standards: transportation ownership/lease expense; Vehicle 1. Check the number of vehicles for
                                                                          which you claim an ownership/lease expense. (You may not claim an ownership/lease expense for more than two
                                                                          vehicles.)
                                                                             1     2 or more.
                                                                          Enter, in Line a below, the amount of the IRS Transportation Standards, Ownership Costs, First Car (available at
                                                                          www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the Average Monthly Payments
                                                                     23   for any debts secured by Vehicle 1, as stated in Line 42; subtract Line b from Line a and enter the result in Line 23. Do
                                                                          not enter an amount less than zero.
                                                                           a.    IRS Transportation Standards, Ownership Costs, First Car                   $
                                                                                 Average Monthly Payment for any debts secured by Vehicle 1, as
                                                                           b.    stated in Line 42                                                          $
                                                                           c.    Net ownership/lease expense for Vehicle 1                                  Subtract Line b from Line a
                                                                                                                                                                                                             $

                                                                          Local Standards: transportation ownership/lease expense; Vehicle 2. Complete this Line only if you
© 1993-2006 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                          checked the “2 or more” Box in Line 23.
                                                                          Enter, in Line a below, the amount of the IRS Transportation Standards, Ownership Costs, Second Car (available at
                                                                          www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the Average Monthly Payments
                                                                          for any debts secured by Vehicle 2, as stated in Line 42; subtract Line b from Line a and enter the result in Line 24. Do
                                                                     24   not enter an amount less than zero.
                                                                           a.    IRS Transportation Standards, Ownership Costs, Second Car                  $
                                                                                 Average Monthly Payment for any debts secured by Vehicle 2, as
                                                                           b.    stated in Line 42                                                          $
                                                                           c.    Net ownership/lease expense for Vehicle 2                                  Subtract Line b from Line a
                                                                                                                                                                                                             $

                                                                          Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur for all federal,
                                                                     25   state, and local taxes, other than real estate and sales taxes, such as income taxes, self employment taxes, social
                                                                          security taxes, and Medicare taxes. Do not include real estate or sales taxes.                                                     $

                                                                          Other Necessary Expenses: mandatory payroll deductions. Enter the total average monthly payroll
                                                                     26   deductions that are required for your employment, such as mandatory retirement contributions, union dues, and uniform
                                                                          costs. Do not include discretionary amounts, such as non-mandatory 401(k) contributions.                                           $

                                                                          Other Necessary Expenses: life insurance. Enter average monthly premiums that you actually pay for term life
                                                                     27   insurance for yourself. Do not include premiums for insurance on your dependents, for whole life or for any other
                                                                          form of insurance.                                                                                                                 $

                                                                          Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that you are required to
                                                                     28   pay pursuant to court order, such as spousal or child support payments. Do not include payments on past due support
                                                                          obligations included in Line 44.                                                                                                   $

                                                                          Other Necessary Expenses: education for employment or for a physically or mentally challenged
                                                                     29   child. Enter the total monthly amount that you actually expend for education that is a condition of employment and for
                                                                          education that is required for a physically or mentally challenged depend-ent child for whom no public education providing
                                                                          similar services is available.                                                                                                     $

                                                                     30
                                                                          Other Necessary Expenses: childcare. Enter the average monthly amount that you actually expend on childcare.
                                                                          Do not include payments made for children’s education.                                                                             $

                                                                          Other Necessary Expenses: health care. Enter the average monthly amount that you actually expend on health
                                                                     31   care expenses that are not reimbursed by insurance or paid by a health savings account. Do not include payments for
                                                                          health insurance listed in Line 34.                                                                                                $

                                                                          Other Necessary Expenses: telecommunication services. Enter the average monthly expenses that you
                                                                     32   actually pay for cell phones, pagers, call waiting, caller identification, special long distance, or internet services necessary
                                                                          for the health and welfare of you or your dependents. Do not include any amount previously deducted.                               $

                                                                     33   Total Expenses Allowed under IRS Standards. Enter the total of Lines 19 through 32.                                                $
                                                                                        Case 06-34686 Document 1 Filed in TXSB on 09/06/06 Page 7 of 8
                                                                                                       Subpart B: Additional Expense Deductions under § 707(b)
                                                                                                    Note: Do not include any expenses that you have listed in Lines 19-32
                                                                          Health Insurance, Disability Insurance, and Health Savings Account Expenses. List the average monthly
                                                                          amounts that you actually expend in each of the following categories and enter the total.
                                                                           a.    Health Insurance                                                       $
                                                                     34    b.    Disabilit y I nsur ance                                                $
                                                                           c.    Healt h Sav ings Account                                               $
                                                                                                                                                        Total: Add Lines a, b and c
                                                                                                                                                                                                        $

                                                                          Continued contributions to the care of household or family members. Enter the actual monthly expenses
                                                                     35   that you will continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled
                                                                          member of your household or member of your immediate family who is unable to pay for such expenses.                           $

                                                                     36
                                                                          Protection against family violence. Enter any average monthly expenses that you actually incurred to maintain the
                                                                          safety of your family under the Family Violence Prevention and Services Act or other applicable federal law.                  $

                                                                          Home energy costs in excess of the allowance specified by the IRS Local Standards. Enter the average
                                                                     37   monthly amount by which your home energy costs exceed the allowance in the IRS Local Standards for Housing and
                                                                          Utilities. You must provide your case trustee with documentation demonstrating that the additional amount
                                                                          claimed is reasonable and necessary.                                                                                          $

                                                                          Education expenses for dependent children less than 18. Enter the average monthly expenses that you
                                                                          actually incur, not to exceed $125 per child, in providing elementary and secondary education for your dependent children
                                                                     38
                                                                          less than 18 years of age. You must provide your case trustee with documentation demonstrating that the amount
                                                                          claimed is reasonable and necessary and not already accounted for in the IRS Standards.                                       $
© 1993-2006 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                          Additional food and clothing expense. Enter the average monthly amount by which your food and clothing
                                                                          expenses exceed the combined allowances for food and apparel in the IRS National Standards, not to exceed five
                                                                     39   percent of those combined allowances. (This information is available at www.usdoj.gov/ust/ or from the clerk of the
                                                                          bankruptcy court.) You must provide your case trustee with documentation demonstrating that the additional
                                                                          amount claimed is reasonable and necessary.                                                                                   $

                                                                     40
                                                                          Continued charitable contributions. Enter the amount that you will continue to contribute in the form of cash or
                                                                          financial instruments to a charitable organization as defined in 26 U.S.C. § 170(c)(1)-(2).                                   $
                                                                     41   Total Additional Expense Deductions under § 707(b). Enter the total of Lines 34 through 40                                    $

                                                                                                                   Subpart C: Deductions for Debt Payment
                                                                          Future payments on secured claims. For each of your debts that is secured by an interest in property that you
                                                                          own, list the name of creditor, identify the property securing the debt, and state the Average Monthly Payment. The
                                                                          Average Monthly Payment is the total of all amounts contractually due to each Secured Creditor in the 60 months
                                                                          following the filing of the bankruptcy case, divided by 60. Mortgage debts should include payments of taxes and insurance
                                                                          required by the mortgage. If necessary, list additional entries on a separate page.
                                                                                                                                                                                          60-month
                                                                     42          Name of Creditor                                Property Securing the Debt                            Average Pmt
                                                                           a.                                                                                                      $
                                                                           b.                                                                                                      $
                                                                           c.                                                                                                      $
                                                                                                                                                                        Total: Add lines a, b and c.
                                                                                                                                                                                                        $

                                                                          Past due payments on secured claims. If any of the debts listed in Line 42 are in default, and the property
                                                                          securing the debt is necessary for your support or the support of your dependents, you may include in your deductions
                                                                          1/60th of the amount that you must pay the creditor as a result of the default (the “cure amount”) in order to maintain
                                                                          possession of the property. List any such amounts in the following chart and enter the total. If necessary, list additional
                                                                          entries on a separate page.
                                                                                                                                                                                       1/60th of the
                                                                     43          Name of Creditor                                Property Securing the Debt in Default                 Cure Amount
                                                                           a.                                                                                                      $
                                                                           b.                                                                                                      $
                                                                           c.                                                                                                      $
                                                                                                                                                                        Total: Add lines a, b and c.
                                                                                                                                                                                                        $

                                                                     44
                                                                          Payments on priority claims. Enter the total amount of all priority claims (including priority child support and alimony
                                                                          claims), divided by 60.                                                                                                       $
                                                                                          Case 06-34686 Document 1 Filed in TXSB on 09/06/06 Page 8 of 8
                                                                          Chapter 13 administrative expenses. If you are eligible to file a case under Chapter 13, complete the following
                                                                          chart, multiply the amount in Line a by the amount in Line b, and enter the resulting administrative expense.
                                                                           a.       Projected average monthly Chapter 13 plan payment.                      $
                                                                                    Current multiplier for your district as determined under schedules
                                                                     45
                                                                                    issued by the Executive Office for United States Trustees. (This
                                                                                    information is available at www.usdoj.gov/ust/ or from the clerk of
                                                                           b.       the bankruptcy court.)                                                  X
                                                                           c.       Average monthly administrative expense of Chapter 13 case               Total: Multiply Lines a and b
                                                                                                                                                                                                             $
                                                                     46   Total Deductions for Debt Payment. Enter the total of Lines 42 through 45.                                                         $

                                                                                                           Subpart D: Total Deductions Allowed under § 707(b)(2)
                                                                     47   Total of all deductions allowed under § 707(b)(2). Enter the total of Lines 33, 41, and 46.                                        $


                                                                                                   Part VI. DETERMINATION OF § 707(b)(2) PRESUMPTION
                                                                     48   Enter the amount from Line 18 (Current monthly income for § 707(b)(2))                                                             $
                                                                     49   Enter the amount from Line 47 (Total of all deductions allowed under § 707(b)(2))                                                  $
                                                                     50   Monthly disposable income under § 707(b)(2). Subtract Line 49 from Line 48 and enter the result.                                   $

                                                                     51
                                                                          60-month disposable income under § 707(b)(2). Multiply the amount in Line 50 by the number 60 and enter the
                                                                          result.                                                                                                                            $

                                                                          Initial presumption determination. Check the applicable box and proceed as directed.
© 1993-2006 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                               The amount on Line 51 is less than $6,000. Check the box for “The presumption does not arise” at the top of page 1 of this
                                                                                statement, and complete the verification in Part VIII. Do not complete the remainder of Part VI.
                                                                     52         The amount set forth on Line 51 is more than $10,000. Check the box for “The presumption arises” at the top of page 1 of this
                                                                                statement, and complete the verification in Part VIII. You may also complete Part VII. Do not complete the remainder of Part VI.
                                                                                The amount on Line 51 is at least $6,000, but not more than $10,000. Complete the remainder of Part VI (Lines 53 though
                                                                                55).

                                                                     53   Enter the amount of your non-priority unsecured debt.                                                                              $
                                                                     54   Threshold debt payment amount. Multiply the amount in Line 53 by the number 0.25 and enter the result.                             $

                                                                          Secondary presumption determination. Check the applicable box and proceed as directed.
                                                                             The amount on Line 51 is less than the amount on Line 54. Check the box for “The presumption does not arise” at the top of
                                                                     55         page 1 of this statement, and complete the verification in Part VIII.
                                                                                The amount on Line 51 is equal to or greater than the amount on Line 54. Check the box for “The presumption arises” at
                                                                                the top of page 1 of this statement, and complete the verification in Part VIII. You may also complete Part VII.


                                                                                                                Part VII. ADDITIONAL EXPENSE CLAIMS
                                                                          Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the health and welfare of
                                                                          you and your family and that you contend should be an additional deduction from your current monthly income under § 707(b)(2)(A)(ii)(I). If
                                                                          necessary, list additional sources on a separate page. All figures should reflect your average monthly expense for each item. Total the
                                                                          expenses.
                                                                                    Expense Description                                                                                             Monthly Amount
                                                                     56    a.                                                                                                                   $
                                                                           b.                                                                                                                   $
                                                                           c.                                                                                                                   $
                                                                                                                                                            Total: Add Lines a, b and c         $



                                                                                                                             Part VIII. VERIFICATION
                                                                          I declare under penalty of perjury that the information provided in this statement is true and correct. (If this a joint case, both debtors must
                                                                          sign.)


                                                                     57   Date: August 31, 2006                      Signature: /s/ Newton L. Bunch
                                                                                                                                                                             (Debtor)


                                                                          Date:                                      Signature:
                                                                                                                                                                       (Joint Debtor, if any)
